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8254 (5192) Subpoena for Role 2004 Kxamiration O f ig Wd |
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United States Bankruptcy Court

DISTRICT OF NEVADA

INRE SUBPOENA FOR RULE 2004 NATE

USA COMMERCIAL MORTGAGE COMPANY, CASENOS, BK-S-6-10725 LBR
USA CAPITAL REALTY ADVISORS, LLC, BK-8-06-10726 LER
USA CAPITAL DIVERSIFIED TRUST DEED FUND LLC, BK-S-06-10727 LBR
USA CAPITAL FIRST TRUST DEED FUND LLC, BK-S-06-10728 LER
USA SECURITIES, LLC, BK-8-06-10729 LBR
DEBTORS, JOINTLY ADMINISTERED UNDER

Case No. BK-S-06-10725-LBR
AFFECTS: ALL DEBTORS

TO: Nevada State Bank
Atta: President or Any Authorized Officer
750 East Warm Springs Rd.
Las Vegas, Nevada 89119

3X YOU ARE COMMANDED to produce a corporate representative for examination under Federal Rule of Bankruptcy Procedure 2004, pursuant
to the attached court order, reganding the following topics at the place, date and time specified below:

SEE ATTACHED EXHIBIT A FOR TOPICS OF EXAMINATION

PLACE, OF TESTIMONY DATE AND ‘TIME

LEWIS AND ROCA, LLP 54. 2007 ar 10:00 AM
3093 HOWARD HUGHES PARKWAY, SUITE 600 May 23, 2007 at 10:00 A.M.
LAS VEGAS, NEVADA 89169 Or such other mutually
(702) 949-8200 agreeable date and/or time

X YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the place, date, and time
apecified below:

. SEE ATTACHED EXHIBIT B FOR DOCUMENTS REQUESTED

PLACE DATE

LEWIS AND ROCA, LLP April 25, 2007 at 10:00 A.M.
3993 HOWARD HUGHES PARKWAY, SUITE 600 Or such ofher mutually
LAS VEGAS, NEVADA 89169 . t
(702) 949-8200 agrecable date and/or time

ISSUING OFFICER SIQINA’ LAND TITLE DATE
(h th ()
ZL April 13, 2007

Special Litigation Counsel for the USACM Liquidating Trust

ISSUING OFFICER'S NAME, AODRESS AND FHONE NUMBRR
ERIC D, MADDEN

EXHIBIT
DIAMOND MCCARTHY LLP
1201 BILM STREET, 341TH FLOOR (
DALLAS, TEXAS 75270 Nene?

(214) 389-5306

(0036503771

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. PROOF OF SERVICE
paTe; 4-16-07 PLACE: 750 E,Warm Springs Road _
at 2:27 p.m Las Vegas,NV 89119
SERVED: Nevada State Bank
BERVED ON (PRINT NAME) MANNER OF SERVICE
by leaving documents with: Lena Brass
x Manager
DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information

contained in the Proof of Service is true and correct.

Executed on Y-2O~07}

Date

Dowie Le sSeax-

Signature of Server

1118 Fremont St. Las Vegas,NV 89101

Address of Server.

wee
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Rule 45, Federal Rules of Civil Procedure, Parts (c) & («) made applicable in cases under the Bankruptcy Code by Rule 9016, Fed, R.Banla-P.:

{o) PROTECTION OF PERSONS SUBJECT TO SUBPOENAS.

DA or ah attom onsible for the issuance and service of
a subpoen ‘tall take reasonable sepa to avoid impasing undue burden ot
expense on a person subjedt to that gubpoena. The court on behalf of which the
aubpoena was issued shall enforce this duty and impose upon the party or
attotney in breach of this duty un sppropnate sanction, which may include, but
18 not limited to, lost carnings and reasonable attorney's fre.

(2) A), A person commanded to produce and permit inspection and
sopyitig of designated books, papers, documents or tangible things, or
inspection of ises need nof appear in person at the place of production or
inspection unless commanded to appeat for deposition, héaring or trial.

(B) Subject to paragraph (d)(2) of this rule, a person commanded to
produce arid permit inspection an: copying may, within 14 days after servic of
the subpoena or before the time specified for compliance if such time is less
than 14 days after service, serve upon the party or attorney designated in the
subpoena wilten objection to ingpection or copying of or all of the
designated materials or of the premises, [fobjection is made, the party serving
the subpoene shall not be entitled to inspect and copy the materials or inspect
the premises except pursvant to an order by the court by which the subpoena
was issued. If objection has been made, the party serving the subpoena may,
upon notice to the petson commanded to produce, move at any fime for an
oder to compel the production, Such an order to. compel production shall
protect any persons ig not a party or an officer of a pasty ftom significant
expense résulting from the inspection and copying commended.

3)(A) On timely motion, the court by which @ subpoena was issued
shall quash ot mode the sebronmeien oo OY P

i fails to allow reasonable time for compliance.

requires a person who is not, party or an officer of a
party to travel to a place more than 100 rniles from the place where
that person Tesides, 19 employed or regularly trangacta i
person, except that, subject to the provisiong of clause ()GXB)Gm)
of this rule, sack a person may in order to attend trial be commai
to travel from any such place within the state in which the trial is held
or,

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(iii) requires disclggure of privileged or other protected
matter and no exception or waiver applies, ot

(Iv) subjects a person to ufidue burden.
(B) Tf a subpoena

G) requires disclosure of a trade secrat or other
confidential research, development, or commercial information, or
_ Gi} requires disclosure of an unvetaitied expert's apinion or
information not describing Specific, events or occurrences In dispute
and ruling from the expert's study made not at the request of any
party, or,

iii) requires a person who is nota party or an officer of a
party to isa ‘substantial: expense to travel more than 100 miles to
atedd trial, the court may, to protect a person subject to or affected
by the subpoena, quash or modify the subpoona or, IF the in

ose behalf the subpomna is igsued showe 4 substantial need for the
testimony or material that caxnot be © so met without undue
hardship and assures that the person to whom the subpoena is
addressed will be reasontatly compensated, the court may order ap-
pearance or production only upon specified conditions.

(d) DUTIES IN RESPONDING TO SUBPOENA.

1) A person responding to a subpoena 19 produce documenta shall
produce aah an they oreky in the usual eee of aeinesa or shall organize
and label them to cotrespond with the categories in the dematid,

__, 2). When information subject to a subpoena is withheld on a claim
that is privileged or subject to protection as trial preparation materials, the claim
shall be made expresely ard shall he supported by 2 description of the nature of
the documents, comimbntcations, or things not produced that'is sufficient to
enable the demanding party to contest the Glaim.

